21-10312-mew   Doc 1   Filed 02/18/21 Entered 02/18/21 16:21:44   Main Document
                                    Pg 1 of 6
21-10312-mew   Doc 1   Filed 02/18/21 Entered 02/18/21 16:21:44   Main Document
                                    Pg 2 of 6
21-10312-mew   Doc 1   Filed 02/18/21 Entered 02/18/21 16:21:44   Main Document
                                    Pg 3 of 6
21-10312-mew   Doc 1   Filed 02/18/21 Entered 02/18/21 16:21:44   Main Document
                                    Pg 4 of 6
21-10312-mew   Doc 1   Filed 02/18/21 Entered 02/18/21 16:21:44   Main Document
                                    Pg 5 of 6
21-10312-mew   Doc 1   Filed 02/18/21 Entered 02/18/21 16:21:44   Main Document
                                    Pg 6 of 6
